                        CASE 0:22-cr-00076-KMM-TNL Doc. 42 Filed 07/29/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     JAVEYON DEMARIO TATE,                   Criminal No. 22-CR-76 (KMM/TNL)
                            Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: JAVEYON DEMARIO TATE
Detained at (custodian): HENNEPIN COUNTY JAIL

The government is requesting the investigating agency to transport detainee.

Detainee is:   a.)    (X) charged in this district by: Indictment
               Charging Detainee With: Conspiracy to Use, Carry, and Brandish Firearms
During and in Relation to a Crime of Violence; Brandishing a Firearm During and in Relation to a Crime of
Violence; Interference with Commerce by Robbery; Possession of a Machinegun
       or      b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on July 29, 2022 at 1:00 p.m.
                                                   m. in the courtroom of D
                                                                          David    Schultz.
                                                                           avid T. Sc
                                                                                   S hultz.

Dated: July 28, 2022                                                                _________________________________
                                                                                    ____________________
                                                                                                      __________
                                                                                                              __________
                                                                                    THOMAS CALHOUN-LOPEZ,
                                                                                             CALHOUN-LOPE     Z,, AUSA
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                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

July 29, 2022
____________________________________                                                         s/David T. Schultz
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):            Javeyon Demario Tate                                        Gender:            Male
     Booking #:                            2022011907                                                  DOB:
     Facility Address:                     401 4th Street                                              Race:
                                           Minneapolis, MN 55415                                       FBI #:
     Facility Phone:                       612-348-5112
     Currently Incarcerated For:           Conspiracy to Use, Carry, and Brandish Firearm
                                           During and in Relation to a Crime of Violence
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)
